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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    COMMITTEE ON WAYS AND MEANS,
    U.S. HOUSE OF REPRESENTATIVES,

                        Plaintiff,

                        v.
                                                       Case No. 1:19-cv-01974 (TNM)
    U.S. DEPARTMENT OF THE TREASURY,
    et al.,

                        Defendants,

                        and

    DONALD J. TRUMP, et al.,

                        Defendant-Intervenors.




                                            ORDER

         The Court previously stayed this action pending a decision in Committee on the

Judiciary, U.S. House of Representatives v. McGahn, No. 19-5331 (D.C. Cir.). As all parties

admit, McGahn presents several threshold questions that bear heavily on the Executive’s motion

to dismiss here. See, e.g., Pl.’s Notice of Suppl. Authority at 1–2, 1 ECF No. 75. A panel of the

D.C. Circuit recently issued its opinion and judgment in McGahn. See Comm. on the Judiciary,

U.S. House of Representatives v. McGahn, --- F.3d ---, No. 19-5331, 2020 WL 1125837 (D.C.

Cir. Feb. 28, 2020). The panel held that the House’s Judiciary Committee lacks Article III

standing to enforce a subpoena against the former Counsel to the President. Given this ruling,

the Court lifted the stay and ordered the parties to advise how they wish to proceed. The parties


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    All page citations are to the page numbers that the CM/ECF system generates.
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did so, and the next day, the D.C. Circuit granted rehearing en banc in McGahn. Order,

McGahn, No. 19-5331 (D.C. Cir. Mar. 13, 2020). Based on the parties’ responses and the grant

of rehearing in McGahn, the Court will stay this action pending further order of this Court.

        Here, the Ways and Means Committee seeks “tax return information concerning

President Donald J. Trump.” Compl. ¶ 1, ECF No. 1. Before filing suit, the Committee

requested this information from the Internal Revenue Service under 26 U.S.C. § 6103(f). Id.

¶¶ 57, 65. When the Treasury Secretary rebuffed that effort, the Committee issued subpoenas to

the Treasury Department and the IRS. Id. ¶¶ 71–72. They did not comply. Id. ¶ 75.

        The Committee’s Complaint raises eight causes of action, which divide into two

categories. Count I is a subpoena-enforcement claim grounded in Article I of the Constitution.

Id. ¶ 102. The other seven counts stem from the Committee’s purported right to the tax return

information under 26 U.S.C. § 6103(f). Id. ¶ 107 (Count II), ¶ 114 (Count III), ¶ 119 (Count IV),

¶ 123 (Count V), ¶ 127 (Count VI), ¶ 134 (Count VII), ¶ 139 (Count VIII). In short, a

component of the Legislature has brought two sets of claims against the Executive: a subpoena-

enforcement claim and claims under 26 U.S.C. § 6103(f).

        From the outset, the Committee pressed the Court to reach the merits of this action

quickly, despite the significant jurisdictional issues that the lawsuit raises. See, e.g., Pl.’s Mot. to

Expedite at 2, ECF No. 30; Tr. of Telephone Conference (Jan. 17, 2020) at 4–5, ECF No. 78;

Mot. to Lift Stay at 2, ECF No. 79. Then came the panel decision in McGahn, which, as it turns

out, calls into question whether the Court has jurisdiction over any of the Committee’s claims.

See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 98 (1998) (recognizing “two centuries

of jurisprudence affirming the necessity of determining jurisdiction before proceeding to the

merits”).




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       In McGahn, the Judiciary Committee brought a subpoena-enforcement claim against the

Executive. It issued a subpoena to a former White House Counsel and then went to court to

enforce the subpoena. The D.C. Circuit treated this as an attempt by the Legislature to enforce a

subpoena against the Executive. See McGahn, 2020 WL 1125837, at *8. 2 But, the Circuit held,

“Article III of the Constitution forbids federal courts from resolving this kind of interbranch

information dispute.” Id. at *1.

       According to the panel, judicial resolution of an interbranch information dispute is not

“consistent with a system of separated powers,” and this sort of dispute is not “traditionally

thought to be capable of resolution through the judicial process.” Id. at *3 (quoting Allen v.

Wright, 468 U.S. 737, 752 (1984)). Separation of powers means that a court “lack[s] authority to

resolve disputes between the Legislative and Executive Branches until their actions harm an

entity beyond the Federal Government.” Id. (cleaned up). For “[w]ithout such a harm, any

dispute remains an intramural disagreement about the ‘operations of government’ that [federal

courts] lack power to resolve.” Id. And when it comes to history, “[n]either interbranch disputes

(in general) nor interbranch information disputes (in particular) have traditionally been resolved

by federal courts.” Id. at *6. In sum, “separation-of-powers principles and historical practice”

compelled the panel “to dismiss for lack of jurisdiction the Committee’s suit to enforce a

congressional subpoena against the Executive Branch.” Id. at *8.




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  The district court also treated the lawsuit as an interbranch dispute. See Comm. on the
Judiciary, U.S. House of Representatives v. McGahn, 415 F. Supp. 3d 148, 154 (D.D.C. 2019).
So too did the parties in McGahn. See, e.g., Br. of the Comm. on the Judiciary of the U.S. House
of Representatives at 23, McGahn, No. 19-5331 (D.C. Cir. Dec. 16, 2019). Ditto with the parties
here. See, e.g., Pl.’s Notice of Suppl. Authority at 2, ECF No. 75 (describing McGahn as “a
subpoena-enforcement action against [a] federal official[]”).


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       It appears that under this reasoning, the Court lacks jurisdiction over the Committee’s

subpoena-enforcement claim here (Count I). The Court so observed at the recent hearing, and

the Committee did not seriously dispute this. See Tr. of Mot. Hr’g (Mar. 5, 2020) at 5. The

Court acknowledged, however, that McGahn was a moving target, since the Judiciary Committee

was seeking rehearing en banc. Id. at 8, 20. Meanwhile, the Ways and Means Committee

highlighted its claims under 26 U.S.C. § 6103(f) (Counts II through VIII). Id. at 5. In its view,

even if the McGahn panel opinion remains binding precedent, the Court is “still situated” to

conclude that it has jurisdiction over the § 6103(f) claims. Id. at 6–10. So the Committee

proposed moving forward with these claims and leaving aside its subpoena-enforcement claim

for now. Id. at 5–6.

       The Court rejected this proposal, explaining that it will not handle this litigation

piecemeal. Id. at 5, 19. As the Court noted, moving forward on the § 6103(f) claims and hoping

the subpoena-enforcement claim eventually “catches up” would not be an efficient use of

resources for the Court, the Legislature, the Executive, or taxpayers. Id. at 10. The import of

these comments was clear: if the Committee wished to keep its subpoena-enforcement claim, the

Court would stay the action.

       The Court suggested another way. If it wished to move forward immediately, the

Committee could amend its Complaint to drop the subpoena-enforcement claim. Id. It could

then argue that the McGahn litigation has “nothing to do” with whether the Court has jurisdiction

over the § 6103(f) claims. Id. If the Court agreed—and if the Court also agreed that it does have

jurisdiction over the § 6103(f) claims—then the litigation would proceed from there. To be sure,

the Court expressed skepticism that the McGahn litigation does not bear on jurisdiction for the

§ 6103(f) claims. Id. at 6, 8, 20. After all, the Committee’s own statements suggest otherwise.




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See id. at 4–5, 9–10; Pl.’s Mot. to Vacate Hr’g at 2, ECF No. 86. Still, though, the Court was

willing to hear more from the parties before deciding how to proceed. Tr. of Mot. Hr’g at 20. So

it gave the parties one week to provide an update on their positions.

       The Committee rejected the expeditious approach. It acknowledged that if the D.C.

Circuit were to grant rehearing en banc in McGahn, an eventual ruling would “inform” whether

the Court has jurisdiction over the subpoena-enforcement claim. Joint Status Report at 2, ECF

No. 88. But “[r]egardless of whether the D.C. Circuit grants or denies rehearing en banc,” the

Committee intended “to press forward with its subpoena-enforcement claim and its Section 6103

claims.” Id. The Executive for its part, urged the Court to “dismiss this action in its entirety

without further briefing.” Id. In the alternative, it requested a stay “pending the completion of

further proceedings in McGahn . . . [including] any Supreme Court proceedings.” Id.

       As explained, the Court’s inclination at the recent hearing was that it would stay this

action if the Committee intended to keep its subpoena-enforcement claim. The Joint Status

Report makes clear that the Committee intends to keep this claim.

       More, the D.C. Circuit granted rehearing en banc in McGahn, so all the reasons for a stay

still hold. The subpoena-enforcement issue is unsettled for now. And piecemeal litigation would

be an inefficient use of resources. These reasons alone favor a stay. See Clinton v. Jones, 520

U.S. 681, 706 (1997) (“The District Court has broad discretion to stay proceedings as an incident

to its power to control its own docket.”). Thus, the Court will await further proceedings in

McGahn before it acts on either the subpoena-enforcement claim or the § 6103(f) claims.

       Another factor supports a stay. As the Executive has argued and as the Court has

observed, the ultimate outcome in McGahn will likely bear on whether the Court has jurisdiction

over the Committee’s § 6103(f) claims. Tr. of Mot. Hr’g at 6, 8, 17, 20. Indeed, the Committee




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itself acknowledges as much. When it proposed the Court move forward, the Committee stated

it would like the opportunity to brief “the effect of McGahn” on the § 6103(f) claims. Id. at 4–5.

It appears the Committee would rely on McGahn’s dictum that “[a] statute could mitigate the

separation-of-powers considerations that counsel against adjudicating interbranch disputes.”

Pl.’s Mot. to Vacate Hr’g at 2; see McGahn, 2020 WL 1125837, at *12. The en banc court could

reiterate this dictum, but it could also disagree with the McGahn panel entirely, in which case the

reasoning of the panel will no longer serve as a baseline for analyzing jurisdiction over the

§ 6103(f) claims. So even for these claims, it would be an inefficient use of resources for the

parties to brief—and for the Court to decide—the “effect” of a panel opinion that will not be the

final word.

       Relatedly, a question arose at the recent hearing on whether the panel opinion remains

binding on this Court during en banc proceedings. Both parties suggested the answer was likely

yes. Tr. of Mot. Hr’g at 7, 11. That accords with the plain language of the D.C. Circuit’s rule.

See D.C. Cir. R. 35(d) (“If rehearing en banc is granted, the panel’s judgment, but ordinarily not

its opinion, will be vacated[.]” (emphasis added)). The order granting rehearing en banc in

McGahn vacated the panel’s “judgment,” but did not say anything about the “opinion.” Order,

McGahn, No. 19-5331 (D.C. Cir. Mar. 13, 2020). This suggests that the panel opinion has not in

fact been vacated, which in turns suggests that it remains binding precedent. The Solicitor

General has taken this view of Rule 35(d). See Reply Br. for the Pet’r at 2–3 & n.2, SEC v.

Bandimere, No. 17-475 (U.S. Oct. 25, 2017).

       Either way, though, a stay here is appropriate. If the McGahn panel opinion is not

currently binding, that just reinforces why briefing on the “effect” of this opinion would be of




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little use. If the opinion is currently binding, as a practical matter it will not be the D.C. Circuit’s

final word. And the en banc court may not be the final word either.

        Accordingly, it is hereby

        ORDERED that this matter is STAYED pending further order of the Court.

        SO ORDERED.


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Dated: March 20, 2020                                   TREVOR N. McFADDEN, U.S.D.J.




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